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                     FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER


                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                       MARSHALL DIVISION

       UNILOC 2017, LLC                                      §     CIVIL CASE NOS. 2-18-cv-00491, 492,
            Plaintiff,                                       §     493, 494, 495, 496, 497, 499, 500, 501,
         v.                                                  §      502, 503, 504, 548, 550, 551, 552, 553
                                                             §
       GOOGLE LLC,                                           §               FILED UNDER SEAL
           Defendant.                                        §
                                                             §           JURY TRIAL DEMANDED




              RESPONSE OPPOSING GOOGLE LLC’S MOTION TO DISMISS FOR
                     LACK OF STANDING AND IMPROPER VENUE1




   1
    Because this response contains voluminous exhibits, all of which are identical in each of the 18 filings, Uniloc is
   uploading the exhibits only to Case No. 2:18-cv-00548 to reduce the burden on Court and party resources. Cites to
   Uniloc’s exhibits herein refer to the exhibits attached to Uniloc’s response in the 548 case. Uniloc is serving the
   exhibits on counsel in all 18 cases.
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                                                 INTRODUCTION

              Google has filed motions to dismiss in multiple cases filed by Uniloc 2017 LLC (“Uniloc

   2017”) on November 17, 2018 (the “November Cases”)1 and December 30, 2018 (the “December

   Cases”).2 To reduce the burden on the Court and the parties, this response addresses each of

   Google’s motions in one paper. 3




   1
       The November Cases or “first wave” cases are 2:18-cv-00491 – 504.
   2
       The December Cases or “second wave” cases are 2:18-cv-00548 – 554.
   3
    Uniloc cites to Google’s motions collectively as “MTD” herein. Unless otherwise stated, cites to exhibit numbers
   or page numbers in Google’s motion refer to the motion filed as Dkt. 106 in case 2:18-cv-00491.
                                                            1
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           Google’s motion to dismiss for improper venue should be denied because Google has

   committed acts of infringement in this District and has a regular and established place of business

   in this District.
   I.      FACTUAL BACKGROUND




           This case was filed after November 16, 2018.
                                                   2
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   III.    VENUE IS PROPER IN THIS DISTRICT.
           Venue is proper in this District because Google has committed acts of infringement here

   and has a regular and established place of business here.

           A.     Google has regular and established places of business in this District.
                  1. Google’s GGC servers (and the place they occupy) are regular and
                     established places of business.
          In SEVEN Networks, LLC v. Google LLC, 315 F. Supp. 3d 933 (E.D. Tex. 2017), this Court

   found Google’s GGC servers in this District (and the spacy they occupied) were a regular and
   established place of business of Google because “(1) Google’s business is delivering online content

   to users, and (2) the GGC servers are part of Google’s three-tired network that conducts this very

   activity.”   Super Interconnect Techs. LLC v. Google LLC, 2:18-CV-00462-JRG, 2019 WL

   3717683, at *2 (E.D. Tex. Aug. 7, 2019) (explaining SEVEN). This Court recognized that

   Google’s GGC servers functioned much like warehouses that Google had integrated into its

   logistical operations, making them part of its network for delivering content. SEVEN, 315 F. Supp.

   3d 933, 960 (E.D. Tex. 2018).

           Regarding the November Cases, Google admits the material facts are indistinguishable

                                                   13
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    from SEVEN18 but urges this Court abandon SEVEN. This Court has already denied Google’s

    request to abandon SEVEN and should do so again here. See Super Interconnect, 2019 WL

    3717683, *1.

              The “regular and established place of business” requirement is also satisfied in the

    December Cases because GGC servers continue to form a part of Google’s three-tiered network

    that conducts Google’s business of delivering online content to users




                                                          Lusztig19 Decl., Ex. 3 – 7.




                                                                  There should, however, be an adverse inference

    against Google



   18
        Richins Decl., Ex. B (excerpt from hearing transcript).
   19
     Citations to the Lusztig Decl. refer to a declaration filed on August 16, 2019 with a response brief (the “PMC Brief”)
   in Personalized Media Communications, LLC v. Google, Case No. 2:19-cv-90-JRG. The PMC Brief, along with the
   Lusztig Decl. and selected exhibits attached to it, are attached as exhibits to Uniloc’s response.
   20
        Richins Decl., Ex. C (Google Dep. (McCallion)) at 36:6-37:1


                                    Lusztig Decl., Ex. Nos. 3 – 7

   21
        Richins Decl., Ex. C (Google Dep. (McCallion) at 29:9-12
                                                                                                        (emphasis added).
   22
        Richins Decl., Ex. D at Bates No. 2014


   23
        Lusztig Decl., Ex. 3-7.


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                                                                                         A Costco warehouse that is

    closed for the weekend does not cease to be a regular and established place of business, and

    Google’s GGC servers did not cease to be a regular and established place of business merely

    because they were “drained”.

              Even if the GGC servers had not continued to form a part of Google’s network after

   November 23, 2018, it is indisputable that they did so only weeks before the December Cases were

   filed. Under the venue statue, “venue is properly lodged in the district if the defendant had a
   regular and established place of business at the time the cause of action accrued and suit is filed

   with a reasonable time thereafter.”26 Google cites SEVEN for the proposition that venue “is

   assessed as of the time of filing of the complaint” but SEVEN cites Raytheon, which recognizes a

   suit filed within a “reasonable time” is sufficient. SEVEN, 315 F. Supp. 3d at 941 n. 7 (citing

   Raytheon).        Rigid application of the rule Google advocates would make the “ultimate

   determination of whether the Court has venue . . . turn on whether [the plaintiff] had filed its



   24
      Google filed its original motion to dismiss in the November Cases on April 19, 2019. See Dkt. 18 (-491 case). It
   filed its original motion to dismiss in the December Cases on June 19, 2019. See Dkt. 21 (-553 case). On July 5,
   2019, Uniloc filed its response to the December Cases motions to dismiss, pointing out that

                                                                                                       e Dkt. 29 (-
   553 case). On July 8, 2019, Uniloc filed a motion to compel in the November Cases, explaining that it has been
   seeking discovery relating to the GGC servers since May 28, 2019. See Dkt. 66 (-491 case). Despite thi


   25
        Richins Decl., Ex. D at Bates No. 2014


   26
     Raytheon Co. v. Cray, Inc., 258 F. Supp. 3d 781, 788-89 (E.D. Tex. 2017) (emphasis added), mandamus granted
   on other grounds, order vacated sub nom (quoting Welch Sci. Co. v. Human Eng’g Inst., Inc., 416 F.2d 32, 35 (7th
   Cir. 1969), cert. denied, 396 U.S. 1003 (1970); citing San Shoe Trading Corp. v. Converse Inc., 649 F. Supp. 341, 345
   (S.D.N.Y. 1986) (“[O]nce a defendant has availed himself of the benefits of doing business in a district, he should not
   be able to retreat to his home forum simply by closing up shop before plaintiff has an opportunity to file a complaint.”)
   (mandamus granted on other grounds)


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   Complaint just two to six weeks earlier.”27
                        2. Google’s                                                         are Google’s regular and
                           established places of business.
               Further, Google’s                                                 in this District satisfies the “regular

   and established place of business” requirement for both the November Cases and the December

   Cases.




                                         Id. at 115:21-116:10; 116:12-18; 117:5-13.




   27
     ParkerVision, Inc. v. Apple Inc., No. 3:15-CV-1477-J-39JRK, 2018 WL 5084731, at *8 (M.D. Fla. Jan. 9, 2018),
   report and recommendation adopted, No. 3:15-CV-1477-J-39JRK, 2018 WL 5084662 (M.D. Fla. Mar. 8, 2018).
   28
        Id. at 13:18-15:20; see also Lusztig Decl., Ex. 8 at 1 ¶ B; Lusztig Decl., Ex. 16
                                              at 15, 19.


                                                                 16
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   29
        Id. at 56:16-57:14; see also Lusztig Decl., Ex. 9 at 3-5
   30
     The PMC Brief cites to the Livingston deposition at 179:21-80:11 but it appears those pages were inadvertently
   omitted from Lusztig Decl., Ex. 2. Uniloc will supplement the exhibit if it obtains the complete Livingston Deposition,
   which Google should have.

                                                                   17
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                                 a. Google’s                             are “Physical Places
                                    of Business”.




   31
        Id. at 171:8-17; see also id. at 171:20-172:5
                                                        Ex. 10 at 2-3.
   32
        Lusztig Decl., Ex. 2 at 32:16-21



   33
        Id. at 66:21-70:9




                                                                  18
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                                                                 therefore “part of a building set apart

   for any purpose or quarters of any kind from which business is conducted.” SEVEN, 315 F. Supp.

   3d at 951 (quoting In re Cray, 871 F. 3d at 1362). That is particularly true because




                            Therefore, and like Google’s GGC servers in SEVEN, Google’s Eastern

   District of Tex                                        are “places” because they are “specifically

   localized” and “occupy[ ] a physical space.” SEVEN, 315 F. Supp. 3d at 951.

          Also like Google’s GGC servers, its                                      are Google’s places

   of business because Google exercises exclusive control over them, as well as the portions of the

                 which are the physical spaces in which they are located and maintained.

          First, Google exercises exclusive control over the digital aspects

   Its use of both                       is admittedly exclusive, Google continually monitors the

   operation of that equipment, and




                                              sztig Decl., Ex. 8 at ¶ 12.01.

          Second, Google exercises exclusive control over the physical

   Google admits that it “owns” its      in the District and specifically

                                                   19
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                                         Like in SEVEN, “[t]his is not a partnership wherein

           y independently act on Google’s behalf in administering” Google’s equipment. Compare

   id. (the SEVEN Suddenlink agreement:

                                                                               th Lusztig Decl., Ex. 8

   at 46




            In SEVEN, this Court found that “Google’s total control over the GGC server’s physical

   presence within the ISP may be best illustrated” by its Suddenlink Agreement that “requires that

   tasks such as the ‘physical switching of a toggle switch;’ ‘power cycling equipment (turning

   power on and/or off);’ and ‘tightening screws, cable ties, or securing cabling to mechanical

   connections, plug;’ may be performed ‘only with specific and direct step-by-step instructions

   from Google.” 315 F. Supp. 3d at 953 (emphasis in original). Here, Google’s




                                                                     Lusztig Decl., Ex. 8 at ¶ 9.08
   (emphasis added).

            Third, Google exercises exclusive control over the “physical spa

   within whi                                     cated and maintained.” SEVEN, 315 F. Supp. 3d at

   951. Google requires, for example, that




                                                    20
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                                                                      .. Where, in SEVEN, ISPs were

   “required to provide Google explicit details regarding Google’s installation location,” 315 F. Supp.

   3d at 952, here Google itself mandates




                                                         And where, in SEVEN, Google argued that
   “Google employees” must be “present” at locations for them to be regular and established places

   of business, SEVEN, 315 F. Supp. 3d at 962 n.44, here, Google employees are permitted



                                             See Lusztig Decl., Ex. 2 at 66:21-70:9; Ex. 8 at ¶ 9.10;

   Ex. 10 at 2; see also Ex. 2 at 186:8-12



          These facts establish even more persuasively than in SEVEN the “installation of Google’s

   own” equipment in a “physical space that becomes Google’s.” SEVEN, 315 F. Supp. 3d at 952

   (emphasis in original). While this Court analogized Google’s GGC servers to “local data

   warehouses, much like a shoe manufacturer might have warehouses around the country,” id. at
   948, Google’s

                                                         is in “the business of providing,” id., to travel

   seamlessly around the country, including to and through the Eastern District of Texas. Cf. Kibler

   v. Transcon. & W. Air, 63 F. Supp. 724, 726 (E.D.N.Y. 1945) (opining, under a different statute

   that, “a railroad is a resident of every county where it operates, where it has a place of business,

   where it runs, where it owns property and runs its road, [and] through which its line passes”)

   (quotations omitted).

                                                    21
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             “exemplifies how the physical presence of the                            thin this District”

   comprises far more than a mere “virtual space or electronic communications,” and instead

   establishes that “there is a physical place which this Court may examine to determine if it is a

   regular and established place of business and whether it is a place of the defendant.” Id. at 953

   (citing In re Cray, 871 F.3d at 1362).

           Google’s                                                                                  are

   therefore installed “physical structure[s]” from which “the business of Google is carried out.”

   SEVEN, 315 F. Supp. 3d at 958. Accordingly, they are places of business under § 1400(b).
                           b. Google’s                                              are “Regular and
                              Established”.
           The Federal Circuit has explained that a “regular” place of business is “operate[d] in a

   “steady, uniform, orderly, and methodical” manner[.]” In re Cray, 871 F. 3d at 1362 (citations and

   alterations omitted). In other words, a business is “regular” if it is not “sporadic,” like “a series

   of [business] acts” is not sporadic. Id. (emphasis added). A business is “established” where it is

   “settled certainly, or fixed permanently.” Id. at 1363 (citations and alterations omitted).

           Here, Google specifically




                                                                                        See id. at 121:4-

   22:1; Ex. 8 at 2; Ex. 9 at ¶ 1.

           Where “[t]here is little question that Google intends” its Eastern District of Tex

                                 to be a “long term solution,” and “it is undisputed that they have been

   such a solution in this District for years,” SEVEN, 315 F. Supp. 3d at 958, they are regular and

   established under § 1400(b).
                         c. Google’s                                             are “of Google”.
           A defendant must “establish or ratify the place of business” in order for it to be a place “of

   the defendant.” In re Cray, 871 F.3d at 1363. Here, Google has both established and ratified its

                                                     22
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              As explained above, “[t]here is little doubt that,” where Google, for example,



                                                                                                 “and the physical

   location in and at which it resides [are] under the exclusive control of Google.” SEVEN, 315 F.

   Supp. 3d at 965. Moreove




                   3. Google’s                       is a regular and established place of business.

              The “regular and established place of business” requirement is also satisfied by




                                  meets the statutory definition to be Google’s regular and established place

   of business.




   34
        See e.g., Lusztig Decl., Ex. 2 at 46:17-21


   35
     See Tinnus Enterprises, LLC v. Telebrands Corp., No. 6:17-CV-00170-RWS, 2018 WL 4560742, at *4 (E.D. Tex.
   Mar. 9, 2018) (where Defendants “lease shelf space in this District,” and “retain[ ] and pay[] agents” to physically
   maintain Defendants’ products” in that space, Defendants “conducts . . . business in such a way in this District that
   venue is proper”), report and recommendation adopted, No. 6:17-CV-00170-RWS, 2018 WL 4524119 (E.D. Tex.
   May 1, 2018).
   36
        See Lusztig Decl., Ex. 17




                                                            23
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   37
        Id.; see also id. at 42



   38
        See Lusztig Decl., Ex. 18 at 242:14-20




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                  Google even “holds out                                           for its business,” In re Cray Inc.,

   871 F.3d at 1363,




                Lusztig Decl, Ex. 18 at 254:20-55:20; 256:5-12; 257:8-58:12.
              “There is no question that warehouses are properly considered places of business and have

   been so held, by both legislatures and courts.” SEVEN, 315 F. Supp. 3d at 958 (citing cases and

   statutes). Where Google




                                                                                               “integrate[d] . . . into

   [Google’s] own logistical operations . . . [and is a] place[ ] of business[.]” Id. (citing Smith v.

   Farbenfabriken of Elberfeld Co., 203 F. 476, 479–81 (6th Cir. 1913)); see also In re ZTE (USA)

   Inc., 890 F.3d 1008, 1015 (Fed. Cir. 2018) (finding whether defendant “owns any of the equipment


   39
        See also Lusztig Decl., Ex. 18 at 233-34:



   40
        Lusztig Decl., Ex. 18 at 152:10-16
   41
        Lusztig Decl., Ex. 17 at p. 42

   42
        Lusztig Decl., Ex. 18 at 250:17-51:4


   43
        See id. at 167:21- 68:11; 170:5-17; 187:15-18
   44
        See Lusztig Dec. Ex. 19 (“Get your Pixel phone repaired”) at 2 (emphasis added),
                              see Lusztig Dec. Ex. 20 at 1.
                                                               25
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   located there” and whether the contractor “would need permission from [defendant] to move its

   [operations] outside of the Eastern District of Texas” to be relevant factors under § 1400(b)).

           4. Google Fi cell towers are regular and established places of business of Google.

           Further, Google Fi cell towers are regular and established places of business of google.

   Rather than being merely a reseller of cell service provided by others,




           Also, the Google Fi cell service coverage Google provides to users in this district is not the
   same as any other service provider. Rather, as described in Uniloc’s complaint (and Google does

   not dispute), Google chooses which cell tower it believes is best for a particular user at a particular

   time.

                                             us, Google advertises an enhanced network coverage area

   better than any of the companies that it uses. Google also determines whether, for example, one of

   its Pixel phone connected to Wi-Fi network in this district could be better serviced by a phone call

   over Wi-Fi as opposed to the cell tower. See Complaints.
           5. The statute does not require “nexus” between acts of infringement and the
              regular and established place of business.
           Finally, this Court has already rejected Google’s claim that the statute requires “nexus”
   between acts of infringement and the regular and established place of business. SEVEN, 315 F.

   Supp. 3d at 945 (“Nothing in the language of Section 1400(b) justifies the conclusion that a

   defendant’s place of business in the district must have some connection with the accused

   device.”).
           B.     Uniloc’s complaints allege acts of infringement in this District.
           Further, contrary to Google’s claims, the complaints in the 491, 492, 495, 497, 500, 503,

   504, 550, 551, and 553 cases plausibly allege acts of infringement in this District.



                                                     26
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               1. Pre-suit knowledge is not required.
          In each motion alleging Uniloc failed to allege acts of infringement in this District, Google

   argues pre-suit knowledge is necessary for induced or contributory infringement. In each case,

   this argument fails because pre-suit knowledge is not necessary for induced or contributory

   infringement. See Tierra Intelectual Borinquen, Inc. v. ASUS Computer Int’l, Inc., 2:13-CV-44-

   JRG, 2014 WL 1233040, at *2 (E.D. Tex. Mar. 24, 2014).

          Google had knowledge at the time the complaints were filed. Achates Reference Pub., Inc.

   v. Symantec Corp., 2:11-CV-294-JRG-RSP, 2013 WL 693955, at *3 (E.D. Tex. Jan. 10, 2013),

   report and recommendation adopted, 2:11-CV-294-JRG-RSP, 2013 WL 693885 (E.D. Tex. Feb.

   26, 2013) (“Symantec has had knowledge of the patent, as well as knowledge that the use of the

   activation component infringes the asserted patents, since at least the time of the filing of the

   Complaint.”). This is sufficient to establish Google committed acts of infringement for purposes

   of venue.
               2. Google had pre-suit knowledge.
          With respect to the November Cases, Google’s argument also fails because Google cannot

   dispute it had knowledge at the time the complaints were filed. For each of the complaints Google

   challenges, a nearly identical complaint was filed weeks before (and later voluntarily dismissed).

   Because the filing of the earlier, identical, complaints gave Google pre-suit knowledge, Google

   cannot plausibly deny (and does not deny) pre-suit knowledge.
               3. Google erroneously assumes all alleged infringing activity must have
                  occurred in this District.
          In each motion alleging Uniloc failed to allege acts of infringement in this District, Google

   attempts to sidestep undisputed allegations in the complaint by alleging one part of the infringing

   activity does not occur in this district. Google appears to again be making an argument rejected

   by this Court in SEVEN – that Uniloc 2017 must allege Google alone performs each step of the

   alleged infringement in this District. This exact argument has been rejected by the courts,

   including this one: “Contrary to Plaintiff’s argument, not all of the alleged infringing activity needs


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   to have occurred within [the District] so long as some act of infringement took place there.”

   SEVEN, 315 F. Supp. 3d at 943.

          Each of the complaints alleges use of the accused products in this District. Google does

   not (and cannot) dispute that the accused products are used here and instead alleges that certain

   equipment or components that support the accused products might be located outside of this

   District. This is irrelevant so long as part of the infringing activity occurred here, which Uniloc

   alleges and Google cannot dispute. Google likewise does not dispute that it instructs EDTX users

   on how they can use these services or how they can benefit from using these services, as alleged

   in the complaints.
          Google’s allegation that one should simply ignore where the information is obtained (here,

   EDTX residents) and to where it goes (here, EDTX) is analogous to arguments rejected in other

   contexts under 35 USC 271 (f) and (g) where one might seek to escape infringement by crossing

   international boundaries. Here, the content is obtained from the EDTX and the content is delivered

   to devices in the EDTX.
                                           CONCLUSION

          For the foregoing reasons, Google’s motions to dismiss should be denied.




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   Dated: November 8, 2019                    Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I certify that the foregoing document was served upon all counsel of record via the Court's

   CM/ECF electronic filing system in accordance with the Federal Rules of Civil Procedure on

   November 8, 2019.
                                                              /s/ Ryan S. Loveless
                                                              Ryan S. Loveless




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                           CERTIFICATE OF FILING UNDER SEAL

          I certify that this motion was filed under seal pursuant to the protective order entered in

   each respective case.



                                                       /s/ Ryan S. Loveless
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